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                       vs.
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                                       .Defendant.


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                      PlaintiffAudrey·aernsteinvc,lt111tarilydi$missesth.is.1¢tii:>nwitbprejµcJiceputsuant.
   tQ Ft)(l, R.   Civ. P, 4l(a)(l)(A)(i).

    Pated: •.. J?ebruary~. 2018




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                                                          Ja)'l. :aro<b·'
                                                          210 Summit Avenue
                                                          l\ilol)tv~l~;:New Jersey 07645
                                                          Tel:      (201J39l-70.00

                                                           Howard Lon~an
                                                          ·Michael J. Klein
                                                           STOLL,STUL~ & BRODY
                                                              6~st.4SthStreet
                                                          New York}NY10017
                                                          Telephone:(212) 687..7230
                                                          FaC$irtdle: · (i12J49Q-2022
                                                          Att.orn~s.for Plaintiff
